        Case 1:17-cr-00201-ABJ Document 575-1 Filed 04/17/19 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                      )
                                               )
                v.                             )
                                               )
 RICHARD W. GATES III,                         )             Crim. No. 17-201-2 (ABJ)
                                               )
                Defendant.                     )




                                            ORDER

       Upon consideration of Defendant Richard W. Gates III’s Unopposed Motion for

Permission to Travel, and finding good cause shown, it is this ___ day of April, 2019, hereby

       ORDERED, that the motion is GRANTED.



                                            _______________________________________
                                            AMY BERMAN JACKSON
                                            UNITED STATES DISTRICT JUDGE
